         Case 22-02890-JJG-11                       Doc 1        Filed 07/26/22           EOD 07/26/22 06:04:50                  Pg 1 of 28

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Indiana
                                          (State)                                                                                    Check if this is an
Case number (if known):                                       Chapter      11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                     06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Aearo Technologies LLC


                                                 E-A-R Specialty Composites, Aearo Company, Aearo Technologies
2. All other names debtor used
   in the last 8 years


     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          7911 Zionsville Road
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Indianapolis                    IN         46268
                                          City                            State      Zip Code         City                         State        Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Marion
                                          County                                                      Number         Street




                                                                                                      City                         State        Zip Code




5. Debtor’s website (URL)                 https://earglobal.com/en/

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                              Partnership (excluding LLP)

                                              Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor            Aearo Technologies LLC                                             Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  Railroad (as defined in 11 U.S.C. § 101(44))

                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                                  None of the above

                                            B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)

                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3399

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                          Chapter 7

                                           Chapter 9

      A debtor who is a “small             Chapter 11. Check all that apply:
      business debtor” must check
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do not
      (whether or not the debtor is a                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      “small business debtor”) must                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      check the second sub-box                          debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                        proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        A plan is being filed with this petition.
                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                        Form 201A) with this form.
                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                           Chapter 12

9. Were prior bankruptcy cases             No        District
   filed by or against the debtor          Yes.                                         When        MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                           When                      Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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Debtor           Aearo Technologies LLC                                             Case number (if known)
          Name



10. Are any bankruptcy cases                No
    pending or being filed by a             Yes.     Debtor        See Rider 1                                     Relationship     Affiliate
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                   District     Southern District of Indiana                     When             07/26/2022
   attach a separate list.                          Case number, if known ___________                                               MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have            No
    possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                       Other


                                                   Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                   Is the property insured?
                                                      No

                                                      Yes.      Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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    Debtor           Aearo Technologies LLC                                             Case number (if known)
              Name



    14. Estimated number of                     1-49                             1,000-5,000                                25,001-50,000
        creditors (on a                         50-99                            5,001-10,000                               50,001-100,000
        consolidated basis)                     100-199                          10,001-25,000                              More than 100,000
                                                200-999

    15. Estimated assets (on a                  $0-$50,000                       $1,000,001-$10 million                     $500,000,001-$1 billion
        consolidated basis)                     $50,001-$100,000                 $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million              $100,000,001-$500 million                  More than $50 billion

    16. Estimated liabilities (on               $0-$50,000                       $1,000,001-$10 million                     $500,000,001-$1 billion
        a consolidated basis)                   $50,001-$100,000                 $10,000,001-$50 million                    $1,000,000,001-$10 billion1
                                                $100,001-$500,000                $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million              $100,000,001-$500 million                  More than $50 billion

                       Request for Relief, Declaration, and Signatures

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of        petition.
        debtor
                                            I have been authorized to file this petition on behalf of the debtor.
                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on         07/26/2022
                                                                 MM/ DD / YYYY


                                                  /s/ John R. Castellano                                              John R. Castellano
                                                 Signature of authorized representative of debtor                 Printed name

                                                 Title    Authorized Signatory




    18. Signature of attorney                     /s/ Jeffrey A. Hokanson                                         Date      07/26/2022
                                                 Signature of attorney for debtor                                          MM/DD/YYYY



                                                 Jeffrey A. Hokanson
                                                 Printed name
                                                 Ice Miller LLP
                                                 Firm name
                                                 One American Square, Suite 2900
                                                 Number               Street
                                                 Indianapolis                                                            IN                46282-0200
                                                 City                                                                    State               ZIP Code

                                                 (317) 236-2100                                                          Jeff.Hokanson@icemiller.com
                                                 Contact phone                                                                Email address
                                                 14579-49                                            IN
                                                 Bar number                                           State



1
       The Debtors have obtained a commitment for $1 billion to fund a trust to resolve all claims determined to be entitled to compensation, based on the
       analysis of an experienced estimator of claims in chapter 11.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                       Southern District of Indiana
                                           (State)                                            Check if this is an
 Case number (if known):                              Chapter   11                              amended filing


                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Indiana for relief under chapter 11 of title 11
of the United States Code. The Debtors anticipate subsequently moving for joint administration of the
chapter 11 cases.

         Aearo Technologies LLC
         Aearo Holding LLC
         Aearo Intermediate LLC
         Aearo LLC
         Aearo Mexico Holding Corp.
         Cabot Safety Intermediate LLC
         3M Occupational Safety LLC
Case 22-02890-JJG-11              Doc 1     Filed 07/26/22      EOD 07/26/22 06:04:50          Pg 6 of 28



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    AEARO TECHNOLOGIES LLC,                            )    Case No. 22-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

                                                                                              Percentage of
             Debtor               Equity Holders            Address of Equity Holder
                                                                                               Equity Held
    Aearo Technologies                                         7911 Zionsville Road,
                                      Aearo LLC                                                   100%
    LLC                                                       Indianapolis, IN 46268




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 AEARO TECHNOLOGIES LLC,                              )    Case No. 22-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Aearo LLC                                                                   100%
                  Case 22-02890-JJG-11                       Doc 1    Filed 07/26/22                    EOD 07/26/22 06:04:50                       Pg 8 of 28


          Fill in this information to identify the case:

          Debtor name    Aearo Technologies LLC, et al.
          United States Bankruptcy Court for the: Southern                 District of    Indiana
                                                                                         (State)                                                         2Check if this is an
          Case number (If known):                                                                                                                       amended filing




        Chapter 11 Cases: List of Law Firms Representing the Tort Claimants                                                                                              12/15

        Aearo Technologies LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Mexico Holding Corporation, Cabot Safety Intermediate
        LLC, and 3M Occupational Safety LLC (collectively, the “Debtors”) each filed a petition in this Court on the date hereof for relief under chapter 11
        of title 11 of the United States Code. The following is a consolidated list of parties that represent or have represented the known parties that
        have alleged claims against the Debtors related to tort claims (the “Top Counsel List”). Substantially contemporaneously with this petition, the
        Debtors have filed a motion seeking authority to file this Top Counsel List in lieu of a list of the 20 largest unsecured creditors for each of the
        Debtors. 1 This list does not include any person or entity who is an “insider” under section 101(31) of title 11 of the United States Code. The Top
        Counsel List was prepared with information existing as of the date hereof. The Debtors reserve the right to amend the Top Counsel List based
        on additional information they may identify. The information contained in the Top Counsel List shall not constitute an admission by, nor shall it
        be binding on, the Debtors.


         Name of law firm and complete             Name, telephone number, and              Nature of       Indicate if claim   Amount of unsecured claim
         mailing address, including zip code       email address of law firm contact        the claim       is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                            (for example,   unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                            trade debts,    disputed            total claim amount and deduction for value of
                                                                                            bank loans,                         collateral or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                            contracts)

                                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                                partially          value of            claim
                                                                                                                                secured            collateral or
                                                                                                                                                   setoff

    1
                                              Attn: Bryan Frederick Aylstock,
                                              Jennifer M. Hoekstra, & Douglass
         Aylstock, Witkin, Kreis & Overholtz,
                                              Alan Kreis
         PLLC                                                                                               Contingent/
                                              P: 850-916-7450
         17 E. Main Street                                                                 Litigation       Unliquidated/       N/A               N/A                 Undetermined
                                              F: 850-916-7449
         Suite 200                                                                                          Disputed
                                              baylstock@awkolaw.com
         Pensacola, FL 32502
                                              jhoekstra@awkolaw.com
                                              dkreis@awkolaw.com


    2                                            Attn: Mikal Watts, David Vincent
         Watts Guerra LLP                        Mclendon, & Erin Rogiers
                                                                                                            Contingent/
         4 Dominion Drive                        P: 210-448-0500
                                                                                           Litigation       Unliquidated/       N/A               N/A                 Undetermined
         Building 3 Suite 100                    mcwatts@wattsguerra.com
                                                                                                            Disputed
         San Antonio, TX 78257                   dmclendon@wattsguerra.com
                                                 erogiers@wattsguerra.com
                                                 Attn: Sean Patrick Tracey,
    3                                            Lawrence Fleming Tracey, & Shawn
         Tracey Fox King & Walters
         440 Louisiana Street                    Fox                                                        Contingent/
         Suite 1901                              P: 713-495-2333                  Litigation                Unliquidated/       N/A               N/A                 Undetermined
         Houston, TX 77002                       F: 713-495-2331                                            Disputed
                                                 stracey@traceylawfirm.com
                                                 sfox@traceylawfirm.com
                                                 ltracey@traceylawfirm com




1
             This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors other than insiders, who
             have the 20 largest unsecured claims against a debtor.
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Debtor Name: Aearo Technologies LLC, et al.                                           Case Number (if known):____________________

 4                                      Attn: Ashley Conrad Keller, Nicole
                                        Corinne Berg, Ashley Barriere,
                                        Hannah Ruth Roberts, & Mitali R
                                        Vyas
      Keller Postman LLC
                                        P: 312-948-8477                                      Contingent/
      150 N Riverside Plaza
                                        ack@kellerpostman.com              Litigation        Unliquidated/   N/A       N/A          Undetermined
      Suite 4100
                                        ncb@kellerpostman.com                                Disputed
      Chicago, IL 60606
                                        Ashley.barriere@kellerpostman.com
                                        hrr@kellerpostman.com
                                        mv@kellerlenkner.com


 5
                                        Attn: Clayton A. Clark, Shelley Van
                                        Natter Hutson, & William Michael
                                        Moreland
      Clark, Love & Hutson, PLLC
                                        P: 713-757-1400                                      Contingent/
      440 Louisiana Street
                                        F: 713-759-1217                       Litigation     Unliquidated/   N/A       N/A          Undetermined
      Suite 1700
                                        cclark@triallawfirm.com                              Disputed
      Houston, TX 77002
                                        bgreif@triallawfirm.com
                                        mmoreland@triallawfirm.com



 6                                      Attn: Thomas J Henry & Lesley
                                        Catherine Paniszczyn
      Thomas J. Henry Law                                                                    Contingent/
                                        P: 361-985-0600
      521 Starr Street                                                        Litigation     Unliquidated/   N/A       N/A          Undetermined
                                        F: 361-985-0601
      Corpus Christi, TX 78401                                                               Disputed
                                        Tjh.3m@thomasjhenrylaw.com
                                        lpan.3m@thomasjhenrylaw.com

 7
                                        Attn: Megan Tomlinson Arvola, Tanja
                                        C Engelhardt, Robert Allen Green,
                                        David Todd Mathews, & Nicholas
                                        Ryan Mayfield
      The Gori Law Firm, P.C.                                                                Contingent/
                                        P: 618-659-9833
      156 N Main Street                                                     Litigation       Unliquidated/   N/A       N/A          Undetermined
                                        marvola@gorijulianlaw.com
      Edwardsville, IL 62025                                                                 Disputed
                                        tengelhardt@gorilaw.com
                                        rgreen@gorilaw.com
                                        todd@gorijulianlaw.com
                                        rmayfield@gorilaw.com


 8                                      Attn: Katherine Lindsey Cornell, Bret
                                        D Stanley, & Steve Faries
      Pulaski Law Firm, PLLC
                                        P: 800-223-3784                                      Contingent/
      2925 Richmond Avenue
                                        F: 713-664-4555                       Litigation     Unliquidated/   N/A       N/A          Undetermined
      Suite 1725
                                        kcornell@pulaskilawfirm.com                          Disputed
      Houston, TX 77098
                                        bstanley@pulaskilawfirm.com
                                        sfaries@pulaskilawfirm.com

 9                                      Attn: William Lewis Garrison, Jr.,
                                        Taylor Christopher Bartlett, &
                                        Christopher Boyce Hood
      Heninger Garrison Davis, LLC                                                           Contingent/
                                        P: 205-326-3336
      2224 1st Avenue North                                                   Litigation     Unliquidated/   N/A       N/A          Undetermined
                                        F: 205-326-3332
      Birmingham, AL 35203                                                                   Disputed
                                        lewis@hgdlawfirm.com
                                        taylor@hgdlawfirm.com
                                        chood@hgdlawfirm.com


 10                                     Attn: Terea Ann Curtin, Ericarae
                                        Garcia, & Michael Edward Pederson
      Weitz & Luxenberg P.C.            P: 212-558-5907                                      Contingent/
      700 Broadway                      F: 646-293-4360                   Litigation         Unliquidated/   N/A       N/A          Undetermined
      New York, NY 10003                tcurtin@weitzlux.com                                 Disputed
                                        egarcia@weitzlux.com
                                        mpederson@weitzlux.com




                                                                                                                                      page 2
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Debtor Name: Aearo Technologies LLC, et al.                                           Case Number (if known):____________________

 11                                      Attn: Michael A London & Virginia E
      Douglas & London, P.C.             Anello
                                                                                             Contingent/
      59 Maiden Lane                     P: 212-566-7500
                                                                             Litigation      Unliquidated/   N/A       N/A          Undetermined
      6th Floor                          F: 212-566-7501
                                                                                             Disputed
      New York, NY 10038                 mlondon@douglasandlondon.com
                                         vanello@douglasandlondon.com


 12                                      Attn: Kenneth Camp Bailey & Robert
      Bailey Cowan Heckaman PLLC         W Cowan
                                                                                             Contingent/
      1360 Post Oak Boulevard            P: 713-425-7100
                                                                            Litigation       Unliquidated/   N/A       N/A          Undetermined
      Suite 2300                         F: 713-415-7101
                                                                                             Disputed
      Houston, TX 77056                  bailey-svc@bpblaw.com
                                         rcowan@bchlaw.com

 13 Junell & Associates, PLLC            Attn: Deborah K Levy                                Contingent/
    3737 Buffalo Speedway
                                         P: 713-221-3750                      Litigation     Unliquidated/   N/A       N/A          Undetermined
    Suite 1850
                                         dlevy@junell-law.com                                Disputed
    Houston, TX 77098

 14                                      Attn: Joseph Scott Nabers &
      Nabers Law Firm, PLLC              Katerina Dimitrakakos
                                                                                             Contingent/
      3737 Buffalo Speedway              P: 713-422-1200
                                                                              Litigation     Unliquidated/   N/A       N/A          Undetermined
      Suite 1850                         F: 713-422-1210
                                                                                             Disputed
      Houston, TX 77098                  snabers@naberslaw.com
                                         kathy@naberslaw.com

 15
      Morgan & Morgan                    Attn: Paul J Pennock & Jonathan M
      850 3rd Avenue                     Sedgh                                               Contingent/
      Suite 402                          P: 212-738-6839                   Litigation        Unliquidated/   N/A       N/A          Undetermined
      Brooklyn, NY 11232                 ppennock@forthepeople.com                           Disputed
                                         jsedgh@forthepeople.com


 16
      Danziger & De Llano, LLP
                                         Attn: Rodrigo De Llano                              Contingent/
      440 Louisiana Street
                                         P: 713-222-9998                      Litigation     Unliquidated/   N/A       N/A          Undetermined
      Suite 1212
                                         filings@dandell.com                                 Disputed
      Houston, TX 77002


 17
                                         Attn: Christopher A Seeger, David R.
                                         Buchanan, & Maxwell H Kelly
      Seeger Weiss LLP
                                         P: 212-584-0700                                     Contingent/
      55 Challenger Road
                                         F: 973-639-8656                      Litigation     Unliquidated/   N/A       N/A          Undetermined
      6th Floor
                                         cseeger@seegerweiss.com                             Disputed
      Ridgefield Park, NJ 07660
                                         dbuchanan@seegerweiss.com
                                         mkelly@seegerweiss.com



 18 Abraham, Watkins, Nichols,           Attn: Muhammed S Aziz
                                                                                             Contingent/
    Sorrels, Agosto & Aziz               P: 713-222-7211
                                                                              Litigation     Unliquidated/   N/A       N/A          Undetermined
    800 Commerce Street                  F: 713-225-0827
                                                                                             Disputed
    Houston, TX 77055                    jdean@abrahamwatkins.com

 19 Morgan, Collins, Yeast and Salyer Attn: McKinnley Morgan, Roy Collins,                   Contingent/
    455 2nd St.                       Dan Yeast, & Kyle Salyer             Litigation        Unliquidated/   N/A       N/A          Undetermined
    Paintsville, KY 41240             P: 606-789-1135                                        Disputed

 20

      Martin Walton Law Firm                                                                 Contingent/
                                          Attn: Mike Martin & Gage Walton
      699 S. Friendswood Drive, Suite 107                                     Litigation     Unliquidated/   N/A       N/A          Undetermined
                                          P: 346-800-0285
      Houston, TX 77546                                                                      Disputed




                                                                                                                                      page 3
    Case 22-02890-JJG-11                       Doc 1         Filed 07/26/22              EOD 07/26/22 06:04:50                   Pg 11 of 28



    Fill in this information to identify the case and this filing:

   Debtor Name          Aearo Technologies LLC

   United States Bankruptcy Court for the:                             Southern District of Indiana
                                                                                       (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
         partnership; or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true
         and correct:

           Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
           Schedule H: Codebtors (Official Form 206H)
           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
           Amended Schedule
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)
           Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        07/26/2022                                   /s/ John R. Castellano
                                        MM/ DD/YYYY                                  Signature of individual signing on behalf of debtor
                                                                                     John R. Castellano
                                                                                     Printed name
                                                                                     Authorized Signatory
                                                                                     Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
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       OMNIBUS WRITTEN CONSENT BY THE BOARD OF DIRECTORS
 OF EACH OF THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

         The undersigned, being the requisite members of the boards of directors (the Boards of
Aearo Technologies LLC, a Delaware limited liability corporation, and certain of its affiliated
entities set forth on Exhibit A, each organized and existing under the internal laws of Delaware
(         Company                       , the             ies having considered the filing of voluntary
petitions for relief under the provisions of title 11 of the United States Code, 11 U.S.C. § 101 et seq.
(the Bankruptcy Code                                  Bankruptcy Petitions ) and exploring strategic
and/or financial alternatives in light of the Companies                      circumstances, including
possibilities of undertaking a restructuring, reorganization, or other transaction and related
financing (each of the foregoing and any combination of the foregoing, a Restructuring
Transaction ;

       WHEREAS, the Boards have reviewed and considered the following:

       1.      the presentations by the Compan            management and the legal and financial
               advisors of the Companies regarding the liabilities and liquidity of the Companies,
               the strategic alternatives available to them, and the impact of the foregoing on the
               Compan        business;

       2.      that certain funding and indemnification agreement, dated July 25, 2022, by and
               among the Companies and 3M Company, a Delaware corporation;

       3.      the information and advice previously provided to and reviewed by the Boards; and

       4.      the related matters reported on at meetings of the Boards on and before the date
               hereof;

        WHEREAS, the Boards have had the opportunity to consult with the Compan
management and the legal and financial advisors of the Companies and to fully consider each of
the strategic alternatives available to the Companies;

         WHEREAS, the Boards have determined, in their business judgment, that it is desirable
and in the best interests of the Companies and their respective stakeholders for the Companies to
file, or cause the filing of, voluntary petitions under chapter 11 of the Bankruptcy Code and that
such action will benefit the Companies and their respective stakeholders;

         WHEREAS, the Boards have determined, in their business judgment, that it is desirable
and in the best interests of the Companies and their respective stakeholders for the Companies to
file, or cause the filing of, any complaint, appropriate pleading, or document related to a preliminary
injunction or temporary restraining order seeking the extension of protections afforded under the
                                                                and that such action will benefit the
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Companies and their respective stakeholders; and

        WHEREAS, the Boards have determined, in their business judgment, that it is desirable
and in the best interests of the Companies and their respective stakeholders for the Companies to
appoint a chief restructuring officer Chief Restructuring Officer pursuant to their respective
articles of organization, limited liability agreements, or any other documents governing the
                                                   Organizational Documents

                         Authorizing the Filing of Bankruptcy Petitions

       NOW, THEREFORE, IT IS RESOLVED, that the Companies are authorized to file
voluntary petitions for relief under chapter 11 of the Bankruptcy Code and seek necessary relief,
including, without limitation, any preliminary injunction or temporary retraining order;

        FURTHER RESOLVED, that, in the judgment of the Boards, it is desirable and in the best
interests of the Companies, their interest holders, their creditors, and other parties in interest, that
the Companies file, or cause to be filed, Bankruptcy Petitions under the provisions of the
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Indiana or such
other court of competent jurisdiction (the Court         In accordance with the requirements of the
Compan        governing documents and applicable law, the Boards hereby consent to, authorize, and
approve the filing of the Bankruptcy Petitions;

        FURTHER RESOLVED, that, in the judgment of the Boards, it is desirable and in the best
interests of the Companies, their interest holders, their creditors, and other parties in interest, that
the Companies file, or cause to be filed, any complaint, appropriate pleading, or document related
to a preliminary injunction or temporary restraining order seeking the extension of protections
                                                                             . In accordance with the

consent to, authorize, and approve the filing of such complaints, pleadings, or documents; and

        FURTHER RESOLVED, that any director, officer, or other duly appointed officer of the
Companies (each an Authorized Person and collectively, the Authorized Persons is hereby
authorized and appointed to act as signatory and attorney on behalf of the Companies in respect of
any Restructuring Transaction, and/or any person to whom such Authorized Persons and/or officers
delegate certain responsibilities is hereby authorized to execute (under the common seal of the
Companies, if appropriate) and file on behalf of the Companies all petitions, schedules, lists, and
other motions, papers, or documents, and to take any and all actions they deem necessary or proper
to obtain such relief.

                                      Retention of Professionals

     FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to, on behalf of the Companies, employ: (i) the law firm of Kirkland &
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Ellis LLP as general bankruptcy counsel; (ii) the law firm of Ice Miller LLP as co-bankruptcy
counsel; (iii) AP Services LLC as financial advisor; (iv) Kroll, LLC, as claims and noticing agent;
(v) Bates White LLC as estimation professional; and (vi) any other legal counsel, accountant,
financial advisor, restructuring advisor, estimation professional, or other professional the
Authorized Persons deem necessary, appropriate, or advisable to retain; each to represent and assist
the Companies in carrying out their duties and responsibilities and exercising their rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons are hereby authorized,
empowered, and directed, in accordance with the terms and conditions hereof, to execute (under the
common seal of the Companies, if appropriate) appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain such services; and

         FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to execute (under the common seal of the Companies, if appropriate) and
file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to perform
such further actions and execute (under the common seal of the Companies, if appropriate) such
further documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate, or desirable in accordance with these resolutions.

                           Appointment of Chief Restructuring Officer

       FURTHER RESOLVED, that John Castellano, be, and hereby is, appointed to serve as the
Chief Restructuring Officer of each Company;

      FURTHER RESOLVED, that the CRO shall have such authority with respect to the
Companies as is described in that certain engagement letter dated as of July 25, 2022, by and among
the Company and AP Services, LLC            Engagement Letter ; and

       FURTHER RESOLVED, that the Engagement Letter is hereby approved, and any
Authorized Person, acting alone or with one or more other Authorized Persons, be, and each of
them hereby is, authorized, empowered, and directed to execute, deliver, and perform each
                  tions under the Engagement Letter on behalf of the Companies and in its name
with such changes therein or additions, deletions, or modifications thereto as the Authorized Person
signing the same may approve, such approval to be conclusively evidenced by such Authorized
Person                                                     .

                                               General

       FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by the Compan         governing documents and applicable law, are hereby authorized to
execute (under the common seal of the Companies, if appropriate), acknowledge, deliver, and file
any and all agreements, certificates, instruments, powers of attorney, letters, forms, transfers, deeds,
and other documents on behalf of the Companies relating to the Restructuring Transactions;
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        FURTHER RESOLVED, that each of the Authorized Persons (and their designees and
delegates) is hereby authorized and empowered, in the name of and on behalf of the Companies, to
take or cause to be taken any and all such other and further action, and to execute (under the common
seal of the Companies, if appropriate), acknowledge, deliver, and file any and all such agreements,
certificates, instruments, and other documents, and to pay all expenses, including but not limited to

as shall be necessary, appropriate, or desirable in order to fully carry out the intent and accomplish
the purposes of the resolution adopted herein;

       FURTHER RESOLVED, that the Boards have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the governing documents of the Companies, or hereby waive any right to have received
such notice;

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Companies,
which acts would have been approved by the foregoing resolutions except that such acts were taken
before the adoption of these resolutions, are hereby in all respects approved, confirmed, and ratified
as the true acts and deeds of the Companies with the same force and effect as if each such act,
transaction, agreement, or certificate had been specifically authorized in advance by resolution of
the Boards; and

        FURTHER RESOLVED, that any Authorized Person is hereby authorized to perform all
other acts, deeds, and other actions as the Companies themselves may perform, in accordance with
their governing documents and applicable law, howsoever arising in connection with the matters
above, or in furtherance of the intentions expressed in the foregoing resolutions, including, but not
limited to, the negotiation, finalization, execution (under common seal, whether or not expressed to
be a deed, as may be necessary or appropriate), and delivery of any other agreements, certificates,
instruments, powers of attorney, letters, forms, transfers, deeds, and other documents whatsoever
as the individual acting may in their absolute and unfettered discretion approve or deem or
determine necessary, appropriate, or advisable, such approval, deeming, or determination to be
conclusively evidenced by said individual taking such action or the execution thereof.

                                              ****
                                      [Signature pages follow]
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Boards set out on
Schedule 1, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger


                                                   ___________________________
                                                   Name: Eric Forbes


                                                   ___________________________
                                                   Name: Matthew Blaisdell


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name: Jeffrey Stein
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Boards set out on
Schedule 1, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger


                                                   ___________________________
                                                   Name: Eric Forbes


                                                   ___________________________
                                                   Name: Matthew Blaisdell


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name: Jeffrey S tein
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Board set out on
Schedule 2, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger

                                                   ___________________________
                                                   Name: Matthew Blaisdell


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name: Jeffrey Stein
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Board set out on
Schedule 2, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger

                                                   ___________________________
                                                   Name: Matthew Blaisdell


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name:
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Boards set out on
Schedule 3, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name: Jeffrey Stein
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      IN WITNESS WHEREOF, the undersigned, being the directors of the Boards set out on
Schedule 3, have executed this written consent as of the date first set forth above.



This action is effective as of July 25, 2022


                                                   DIRECTORS:


                                                   ___________________________
                                                   Name: Daniel Renninger


                                                   ___________________________
                                                   Name: Roger Meltzer



                                                   ___________________________
                                                   Name:
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                                       Exhibit A
                   Schedules of Boards of Directors of the Companies


                                      Schedule 1
                                  Board of Directors:
   Daniel Renninger, Eric Forbes, Matthew Blaisdell, Jeffery Stein, and Roger Meltzer

                   Entity                                   Jurisdiction
         Aearo Technologies LLC                              Delaware
                Aearo LLC                                    Delaware
       Cabot Safety Intermediate LLC                         Delaware


                                    Schedule 2
                                Board of Directors:
         Daniel Renninger, Matthew Blaisdell, Jeffery Stein, and Roger Meltzer

                 Entity                                     Jurisdiction
     Aearo Mexico Holding Corporation                        Delaware


                                     Schedule 3
                                Board of Directors:
                  Daniel Renninger, Jeffery Stein, and Roger Meltzer

                 Entity                                     Jurisdiction
          Aearo Holding LLC                                  Delaware
         Aearo Intermediate LLC                              Delaware
       3M Occupational Safety LLC                            Delaware
